         Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 1 of 10



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                             §
                                                   §
WILLIAM S. MARTIN AND                              §       CASE NO. 19-33443
JENNIFER A. MARTIN                                 §       CHAPTER 7
                                                   §
         DEBTORS                                   §       CHIEF JUDGE DAVID R. JONES

    CHAPTER 7 TRUSTEE’S APPLICATION TO EMPLOY BK GLOBAL REAL ESTATE
  SERVICES PURSUANT TO 11 U.S.C. §§ 327 AND 328 (a) TO LIST REAL PROPERTY FOR
                                      SALE

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE
MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
TWENTY-ONE (21) DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


To the Honorable David R. Jones,
Chief United States Bankruptcy Judge, Southern District of Texas

         COMES NOW Randy W. Williams, Chapter 7 Trustee of the above-captioned estate (the

“Trustee”) files this Application to Employ BK Global Real Estate Services Pursuant to 11 U.S.C. § 327 to

List Real Property for Sale (the “Application”) and states as follows:

                                          RELIEF REQUESTED

         1.      The Trustee seeks and order to employ BK Global Real Estate Services (“BK Global”) to

list for sale of the Real Property (as more specifically identified below).

                                      RELEVANT BACKGROUND

         2.      Randy Williams is the duly qualified and acting Chapter 7 Trustee of the bankruptcy estate

of William and Jennifer Martin.
         Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 2 of 10



        3.       An asset of the bankruptcy estate is real property located at 1470 Merion Dr., Mt. Dora, FL

32757 (the “Real Property”).

        4.       The Debtors listed the Real Property on their schedules as having a value of $250,000.00.

See Dkt. No. 1, Schedule A/B.

        5.       The Debtors listed the following encumbrances (the “Secured Claims”) on the Real

Property:

        a)       First Mortgage: Wells Fargo              Mortgage     in   the    amount     of   $273,178.00
                 See Dkt. No. 1, Schedule D.

        6.       The Debtors have not declared the Real Property as exempt. See Dkt. No. 1, Schedule C.

        7.       Based upon advice from Broker, the Trustee believes that the actual value of the Real

Property to be in excess of the value stated in the Debtor’s schedules and that the initial listing price for the

Property should be $375,000.00. Accordingly, the Trustee believes that equity exists in the Real Property

to administer for the benefit of creditors. Alternatively, in the event that the Real Property does not sell for

an amount sufficient to pay all secured claims against the property in full, BK Global is highly qualified to

negotiate a carve-out agreement with the holder(s) of Secured Claims to provide sufficient funds from the

proceeds of sale to pay reasonably anticipated administrative claims of the estate and make a meaningful

distribution to creditors.

                                   BASIS FOR RELIEF REQUESTED

        8.       The Handbook for Chapter 7 Trustees published by the Executive Office of the United

States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General Standards “A trustee

may sell assets only if the sale will result in a meaningful distribution to creditors. The Section further

states “the Trustee may seek a “carve-out” from the sale of the property at issue if the “carve-out” will result

in a meaningful distribution to creditors. Further, the Section states “The trustee must also consider whether

the cost of administration or tax consequences of any sale would significantly erode or exhaust the estate’s

equity interest in the asset.”
         Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 3 of 10



        9.        BK Global has expertise and experience in assisting trustees in facilitating the sale of real

property for the benefit of creditors. BK Global proposes to provide the following services (the “Services”)

to the Trustee:

        a) List the Real Property for sale to obtain offers for the Trustee, whereby if the Trustee accepts
           an offer, the Real Property may be sold pursuant to 11 U.S.C. § 363;

        b) Obtain the release and waiver of all secured claims against the estate with respect to the Real
           Property (including any deficiency claims resulting from the proposed sale) as applicable;

        c) Establish a meaningful carve out for the benefit of allowed unsecured creditors of the Debtors’
           estate and the payment of administrative claims of the Estate including, but not limited to, (a)
           a six percent (6%) real estate brokerage commission (and reimbursement of any out-of-pocket
           expenses) to BK Global and any associated real estate professional(s); (b) statutory
           compensation for the Trustee; and (c) and other administrative claims by other professionals
           employed by the Trustee (collectively “Administrative Costs”), all to be paid from the proceeds
           of the sale;

        d) Make certain the amount of the carve out is clearly set out in the motion to sell the Real Property
           pursuant to 11 U.S.C. § 363;

        e) Assist with the coordination of the sale and closing transaction of the Real Property.

        10.       A separate motion to approve the sale of the Real Property will be filed seeking the

approval of the settlement terms and conditions of the subject purchase and sale transaction including the

following, if appropriate:

        a) a carve out from the sale proceeds of the Real Property for the payment of title services and
           closing costs;

        b) a carve out from the sale proceeds of Administrative Costs ;

        c) a carve out from the sale proceeds of an amount that will result in a meaningful distribution to
           the estate for the benefit of unsecured creditors of the bankruptcy estate.

        11.       The Trustee believes that the highest and best value for the Real Property will be generated

through a sale in which the Real Property is widely marketed to the public and offered at the highest price

that the market will bear.

        12.       The Trustee submits that the terms of employment and compensation as set out in this

application and the listing agreement, attached as Exhibit A, are reasonable in light of the extensive
           Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 4 of 10



experience of BK Global and any associated real estate professional, and the nature of the services they

provide.

        13.      The terms of the listing agreement and this Application provide that BK Global and listing

agent are only entitled to payment if and when (a) a motion to approve the sale is granted and (b) the sale

of the Real Property closes, in which event BK Global and listing agent will receive a six percent (6%) real

estate brokerage commission and obtain reimbursement of any out-of-pocket expenses. Therefore, BK

Global will not be entitled to any fees if the Court does not grant the motion to approve the sale of the Real

Property.

        14.      In no event will the bankruptcy estate have any obligation to pay BK Global or any

associated real estate professional(s) for their services, or to pay for the customary title services and closing

costs if the subject transaction does not close.

        15.      BK Global attested that it is a disinterested person within the meaning of Section 101(14)

of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached hereto as

Exhibit B is an Affidavit of Disinterestedness of BK Global. BK Global also attests, pursuant to

Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or entity other than listing

agent or a buyer’s agent, if applicable.

        WHEREFORE, based upon the foregoing, the Chapter 7 Trustee seeks the Court’s authority to

retain BK Global in this case and requests that the Court approve the retention of BK Global on the terms,

including but not limited to compensation arrangement, set forth in the listing agreement and this

application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and for such other and

further relief as the Court determines is appropriate.

                                                    Respectfully submitted,

                                                    /s/ Marc Douglas Myers
                                                    ___________________________
                                                    Marc Douglas Myers
                                                    Ross, Banks, May, Cron & Cavin, P.C.
                                                    SBN 00797133
                                                    7700 San Felipe, Suite 550
                Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 5 of 10



                                                                           Houston, Texas 77063
                                                                           (713) 626-1200; (713) 623-6014 fax
                                                                           mmyers@rossbanks.com
                                                                           COUNSEL FOR THE TRUSTEE

                                                    CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2019, a true and correct copy of the foregoing was sent via
regular US mail to the Debtor(s), counsel for the Debtor(s), the Trustee, counsel for the Trustee, the US
Trustee, all creditors and all persons requesting notice as set forth below unless otherwise served by the
CM-ECF system.
                                                                           /s/ Marc Douglas Myers
                                                                           ___________________________
                                                                           Marc Douglas Myers
Carvana, LLC                          P.O. Box 628
undeliverable                         Buffalo, NY 14240-0628                      Sears/cbsd
                                                                                  P.O. Box 6189
PRA Receivables Management, LLC       Frank Steelman                              Sioux Falls SD 57117-6189
P.O. Box 41021                        Attorney at Law
Norfolk, VA 23541-1021                1810 Greenfield Plaza                       Syncb/JcPennys
                                      Bryan, TX 77802-3408                        4125 Windword Plaza
Wells Fargo Bank, N.A.                                                            Alpharetta, GA 30005-8738
c/o BDFTE, LLP                        Frontline Asst Stratagies LLC
4004 Belt Line Rd Ste. 100            2700 Snelling Ave N.                        Syncb/Walmart
Addison, TX 75001-4320                Roseville, MN 55113-1719                    4125 Windword Plaza
                                                                                  Alpharetta, GA 30005-8738
Amazon                                Gold Key Credit Inc
4125 Windword Plaza                   P.O. Box 15670                              Synchrony Networks/Mattress Firm
Alpharetta, GA 30005-8738             Brooksville FL 34604-0122                   P.O. Boc 965036
                                                                                  Orlando, FL 32896-5036
American Express                      Infysystems Inc.
P.O. Box 981540                       6900 College Blvd Suite 550                 TD Bank USA/Target Credit
El Paso, TX 79998-1540                Overland, Park KS 66211-1596                7000 Target Parkway N.
                                                                                  Mail Stop NCD-0450
Barclays Bank                         Kabboge                                     Brooklyn Park, MN 55445-4301
1007 N. Orange St.                    925 B Peachtree St. NE Ste 1688
Wilmington, DE 19801-1239             Atlanta, GA 30309-3918                      US Trustee
                                                                                  515 Rusk Ave., Ste 3516
Barclays Bank Delaware                M. D. Anderson                              Houston, TX 77002-2604
P.O Box 8803                          P.O. Box 4461
AH: Credit Bureau                     Houston, TX 77210-4461                      University Pediatrics Association
Wilmington, DE 19899-8803                                                         1602 Rock Prairie Rd. #1100
                                      Midland Credit Management                   College Station, TX 77845-0001
Baylor Scott & White Health-Central   P.O. Box 51319
TX                                    Los Angeles, CA 90051-5619                  Wells Fargo Home Mortgage
Attn: Buisness Office, MS -01-105                                                 Default Document Processing
2401 S. 31st Street                   Midland Funding, LLC                        N9286-01Y, 1000 Blue Gentian
Temple, TX 76508-0001                 P.O. Box 2001                               Road
                                      Warren, MI 48090-2001                       Eagan, MN 55121-7700
Bridgecrest Credit
7300 E. Hampton Ave, Suite 101        Pay Pal Credit                              Frank S Steelman
Mesa, AZ 85209-3324                   P.O. Box 71202                              1810 Greenfield Plz
                                      Charolotte, NC 28272-1202                   Bryan, TX 77802-3408
Capital One Bank (USA), N.A.
P.O. Box 30285                        Pay Pal Working Capitol                     Jennifer A. Martin
Salt Lake City, UT 84130-0285         Atten: Executive Escalation                 936 Whitening Ln
                                      P.O. Box 5018                               College Station, TX 77845-5997
City of Mount Dora                    Timonium, MD 21094-5018
P.O. Box 176                                                                      Randy W Williams
Mount Dora, FL 32756-0176             Portfolio Recovery Associates Llc           7924 Broadway, Suite 104
                                      P.O. Box 41067                              Pearland, TX 77581-7933
College Station Medical Center        Norfolk VA 23541-1067
1604 Rock Prairie                                                                 William S. Martin
College Station, TX 77845-8345        Quest Diagnostics C/O Arstrat, LVC          936 Whitening Ln
Comenity Bank/Way Fair                P.O. Box 33720                              College Station, TX 77845-5997
P.O Box 182789                        Detroit, MI 48232-3720
COlumbus, OH 43218-2789
                                      SYNCB/Amazon
Comenity Capital/Overstock            P.O. Box 965016
P.O. Box 182120                       Orlando, FL 32896-5016
Columbus, OH 43218-2120
                                      SYNCB/MFIS
Credit Union Loan Source              undeliverable
P.O. Box 105388
Atlanta, GA 30348-5388                SYNCB / Walmart
                                      P.O. Box 965024
First Source Advantage, LLC           Orlando, FL 32896-5024
         Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 6 of 10



                           BK Global Real Estate Brokerage Listing Agreement

        This Real Estate Brokerage Listing Agreement (“Agreement”) is between Randy Williams

(“TRUSTEE”) and BK Global Real Estate Services LLC (“BROKER”)

        Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in the sale

of the real and personal property (collectively “Property”) described below:

        1470 Merion Dr., Mt. Dora, FL 32757.

        Upon full execution of a contract for sale and purchase of the Property and court approval, all

rights and obligations of this Agreement will automatically extend through the date of the actual closing

of the sales contract. Trustee and Broker acknowledge that this Agreement does not guarantee a sale.

This Property will be offered to any person without regard to race, color, religion, sex, handicap, familial

status, national origin, or any other factor protected by federal, state, or local law. Trustee certifies and

represents that she/he/it is legally entitled to convey the Property and all improvements.

        Price: The starting listing price of the property will be: $375,000. If there are no acceptable offers

after 15 days, the list price will be reduced 5% and will reoccur every 15 days until the listing expires or if

an acceptable offer is received.

        Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to

procure the consent and agreement of the senior mortgagee (“Secured Creditor”), if necessary due to a

short sale or insufficiency of the net proceeds of sale, to:

    a) procure a purchaser for the Real Property with the best qualified offer during a public sale.
    b) Release its lien with respect to the Property; and
    c) Agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any commission payable to
       the local real estate broker and all other fees and expenses associated with the sale, and
       (y) provide a carve‐out for the benefit of allowed unsecured creditors of the estate.

        Brokers Duties: Broker duties will include but will not be limited to the following services;

    a) Researching the real estate, running title and lien searches to identify creditors for resolution and
       any title issues.
    b) Advising the trustee of any issues and discuss potential resolutions.
         Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 7 of 10



    c)   Conducting the resolutions under the trustee’s direction.
    d)   Assisting the trustee in the collection of documents and information for employment.
    e)   Making and identifying the correct contact with any secured creditors where applicable.
    f)   Notifying the secured creditor of the upcoming sale and identifying servicer requirements.
    g)   Assisting the trustee in establishing market value and negotiating with the Servicer an acceptable
         sales price and establishing a carve‐out, if necessary.
    h)   Development of online marketing, email campaign and full nationwide marketing services.
    i)   Conducting an online sale.
    j)   Use of the BK Global technology platform.
    k)   Assist the trustee in the review of all offers and coordinate the final documentation of the offer
         accepted by the trustee.
    l)   Managing contract requirements such as inspections, appraisals and HOA applications.
    m)   Coordinating closings and assisting the trustee in the collection of required information for court
         filing.
    n)   Closing the transaction and ensure the estate has received the appropriate funds.

    Local Listing Brokers Obligations: Broker will select a Local Listing Broker to co‐list the property and

provide limited services. Trustee will retain both Broker and the Local Listing Broker to market the

Property for sale to the public under a separate listing agreement.

    Local Listing Brokers Duties: Local Listing Brokers duties will include but will not be limited to the

following services;

    a) Inspecting the property and completing a broker’s price opinion.
    b) Listing the property in the multiple listing service (MLS).
    c) Posting a for sale sign in the yard and coordinating showings.

    Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

    a) Cooperate with Broker in carrying out the purpose of this Agreement
    b) Assist the Broker as needed in obtaining the keys to the Property and make the Property available
       for Broker to show during reasonable times.
    c) File all court motions and documents in a timely manner to ensure a successful sale.
    d) Advise Broker of any special issues our court requirements.

    Compensation: 6% Real Estate Commission will be paid out of the proceeds off the sale and is due

and paid at closing. The commission will cover the costs of the Broker, Local Listing Broker and Buyers

Broker. The commission will be paid as follows:

    a) 2% Broker
    b) 2% Local Listing Broker
        Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 8 of 10



    c) 2% Buyers Broker

    Term of Agreement: The term of this Agreement will commence when signed by the Trustee and the

court approves it. This Agreement will automatically terminate upon the closing of the sale of the

Property, or it may be terminated by either party for any or no reason after 180 days from

commencement. In addition, this Agreement will be terminated if the Trustee files a Report of No

Distribution, files a Notice of Abandonment of the subject property, or submits a Trustee’s Final Report to

the Office of the United States Trustee.

        Broker acknowledges and agrees that (a) the Trustee is not executing this Agreement in an

individual capacity, but solely as trustee of the estate, (b) Broker does not and will not have any right or

claim with respect to the estate and (c) Brokers sole recourse for payment of real estate commission, fees

and expenses will be paid at closing with court approval.

        This Agreement constitutes our complete agreement on this matter and supersedes all prior

agreements and representations concerning the same. It may not be modified or amended except in a

writing signed by both parties.




                         (the remainder of this page is left intentionally blank)
           Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 9 of 10



The effective date of this agreement is __________________.


BROKER:




By:                                        Acknowledged and agreed as of the date set forth above.

      Patrick Butler, Broker‐in‐Charge


TRUSTEE:




                                          Acknowledged and agreed as of the date set forth above.

Randy Williams, not individually but solely as Trustee in the referenced matter.
  Case 19-33443 Document 22 Filed in TXSB on 08/16/19 Page 10 of 10




      Florida
        Palm Beach

Patrick Butler
